Case 2:05-cr-20181-SH|\/| Document 3 Filed 05/31/05 Page 1 of 2 Page|D 5
UNITED sTATES DISTRICT coURT

FOR THE \;?
WESTERN DISTRICT OF TENNESSEE ¥£Brnw "IH.JC

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UNITED STATES OF AMERICA

VS.

 

\.r'~./v\_r

VERLES MORRIS

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APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

The United States Attorney's Office applies to the Court for a Writ
to have VERLES MORRISl DOB: 04[25[1972c RNI: 157473, now being detained
in the Criminal Justice Center, 201 Poplar Ave., Memphis, TN. appear
before the Honorable Tu M. Pham on Wednesday, June Bth, 2005 @ 2:00 p.m.
for Initial Appearance and for such other appearances as this Court may
direct.

Respectfully submitted this 313t day of May, 2005.

STEPHEN P. HALL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DAvn)memW, U.S.
MARSHAL, WESTERN DISTRICT oF TENNESSEE, MEMPHIS, TN., SHERIFF/WhRREN, SHELBY CouNTY
CRIMINAL JUSTICE CENTER, MEMPHIS, TN.
YOUR ARE HEREBY COMMANDED to have VERLES MORRIS, DOB: 04/26/191§L
RNI: 157473, appear before the Honorable Tu M. Pham at the date and time
aforementioned.

ENTERED this SZ‘Iday of May, 2005.

§ WM.J @_,

UNITED STATES MAGISTRATE JUDGE

Thls docL.ment entered on the docket sheet ln compliance

with R.ue 55 and/or 32¢13) FRch on ‘5 ' 31 'O

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20181 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

